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                              UNITED STATES DISTRICT COURT
                                DISTRICT OF CONNECTICUT


 DEBORAH CARR, BRENDA MOORE,
 MARY ELLEN WILSON, MARY SHAW,
 and CAROL KATZ, on behalf of themselves
 and those similarly situated,

                         Plaintiffs,                     Civil Action No. 3:22-cv-988 (MPS)

                         v.                              CLASS ACTION REQUESTED

 XAVIER BECERRA, SECRETARY,                              November 10, 2022
 UNITED STATES
 DEPARTMENT OF HEALTH AND
 HUMAN SERVICES,

                         Defendant.


         PLAINTIFFS’ MOTION FOR EXPEDITIOUS RESOLUTION OF
    PENDING NATIONWIDE PRELIMINARY INJUNCTION MOTION, AND FOR
      CONSOLIDATION WITH PENDING CLASS CERTIFICATION MOTION

        On November 7, 2022, the Honorable Omar A. Williams granted Plaintiffs’ motion for a

preliminary injunction (“PI”) in this matter as to the five Named Plaintiffs, and ruled that

Plaintiffs’ pending motion for a nationwide PI as also set forth in their August 3, 2022 motion

(ECF# 3) was not before him. Ruling Granting PI, at 1 n.1, (ECF# 77) (“Ruling”). Because there

is no current forum for consideration of the pending nationwide PI motion, and in order to

expedite its consideration in light of ongoing irreparable harm affecting hundreds of thousands of

individuals nationwide, Plaintiffs ask that the remaining portion of the PI motion be consolidated

for expedited hearing with their pending motion for class certification (ECF# 44). Given the

Honorable Michael P. Shea’s heavy trial schedule, and the fact that Judge Williams already has

significant familiarity with the merits issues in this case, Plaintiffs also respectfully ask that both

motions be transferred to Judge Williams, or, in the alternative, that both motions be heard
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before Judge Shea on December 5, 2022. Both motions have been fully briefed, which would

facilitate expedited consideration. Plaintiffs also request expedited briefing on this procedural

motion. These points are discussed more fully below.


Procedural History

        On August 3, 2022, the same day that this action was initiated, Plaintiffs filed a motion

for a Temporary Restraining Order (“TRO”) and a PI, in which they stated, “[i]rreparable harm is

readily established for all individuals cut off of full benefit Medicaid based on the IFR,” Pls.’ Motion

for a TRO and a PI at 5, and requested, inter alia, that the Court:

        Grant a preliminary injunction enjoining Defendant from enforcing 42 C.F.R. §
        433.400 under his Interim Final Rule and requiring him to notify all states (1) that
        they may not apply any provisions of 42 C.F.R. § 433.400 under the IFR, and (2)
        that they must immediately reinstate anyone cut off of full benefit Medicaid since
        the implementation of the IFR based on any of the extra-statutory exceptions not
        contained in the Coronavirus Response Act itself (i.e., for a reason other than
        voluntarily getting off of Medicaid or leaving the jurisdiction, including through
        death).

Id. at 7 (emphasis added).

        In an order dated August 8, 2022, and following an agreement by Defendant to

temporarily maintain Plaintiffs Carr and Moore on full Medicaid benefits (mooting the TRO

request) pending resolution of the PI motion, the Honorable Michael P. Shea set the hearing on

the PI motion to be held on September 27 and 28, 2022 (ECF# 19).

        On August 26, 2022, Plaintiffs filed an Amended Class Complaint (ECF# 43) and, out of

an abundance of caution, moved for formal certification of a nationwide class of all individuals

who lost or will lose access to Medicaid benefits due to Defendant’s Interim Final Rule (“IFR”),

to assure nationwide relief in the event the Court found for Plaintiffs on either or both of their

Administrative Procedure Act (“APA”) claims. The parties completed briefing on this motion on



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October 11th (ECF# 65).

       On September 10, 2022, the Court entered an order delaying the hearing on the PI due to

its trial schedule, consolidating the hearing on the PI with the hearing on Plaintiffs’ motion for

class certification, and scheduling both for December 2, 5 and 6 (ECF# 46). The parties

completed briefing on the PI on September 19, 2022 (ECF# 53).

       On September 23, 2022, Plaintiffs filed an emergency motion for referral of the matter of

the PI and class certification to a Magistrate Judge because of the delay inherent in waiting until

December for argument on the PI for both Named Plaintiffs and class members suffering

irreparable harm. (ECF# 57). On September 29, 2022, the Court denied the motion but referred

the PI motion to the Honorable Omar A. Williams for adjudication, while maintaining

jurisdiction over the class certification and de-consolidating the two motions, with argument on

class certification on December 5, 2022 before Judge Shea. (ECF# 59). Both Plaintiffs and

Defendant had fully briefed the merits of Plaintiffs’ motion for a nationwide PI, but Judge

Williams concluded from the bench at the October 26, 2022 PI hearing and oral argument that

the transfer order (ECF# 59) applied only to that portion of the motion for PI seeking relief for

the Named Plaintiffs. See Ruling at 1, n.1. This left Plaintiffs with no current forum for

adjudication of their request for a nationwide PI.

       On November 7, 2022, after the hearing on the PI, Judge Williams found that irreparable

harm had been established for all five Named Plaintiffs. His Honor's ruling relied on the specific

facts of Plaintiffs, but also the situation of low-income individuals losing access to their health

coverage generally:

       A gap in healthcare is not likely to result in the sort of injury which can be
       corrected with a monetary award, particularly in Plaintiffs’ age of seniority.
       Plaintiffs already are reporting that they are declining to seek medical assistance
       for serious conditions, limiting their visits to doctors for ongoing care, and facing


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         the threat of residing at a nursing home (during a pandemic in which nursing
         home fatalities are distressingly frequent) in order to receive the level of care they
         require for everyday functioning. The enforcement of the IFR has cost these
         individuals the level of health which only follows early and consistent medical
         care and treatment. No monetary award can halt the progression of cancer, reverse
         the effects of COVID, or retract periods of anxiety and pain. These harms clearly
         are non-compensable in monetary damages. See LaForest [v. Fromer Clean Air
         Holding Co.,], 376 F.3d [48,] 56 [2d. Cir. 2004] (finding district court did not
         abuse its discretion in holding that retirees had shown irreparable harm in a
         reduction in healthcare benefits which would have adverse health results).

Ruling at 18-19. 1

         Judge Williams also found that Plaintiffs had demonstrated a substantial likelihood of

success on the merits of their claim that the APA had been violated by Defendant’s failure to

provide advance notice and comment prior to issuing 42 C.F.R. § 433.400 in his November 6,

2022 IFR. Ruling at 13-17. Finding it unnecessary to reach the issue, Judge Williams declined to

rule on the likelihood of success of Plaintiffs’ other APA claim that the regulation was ultra

vires. Id. at 17. His Honor ordered Defendant to “reinstate its previous [pre-IFR] guidance with

respect to the named plaintiffs.” Id. at 20.

         Judge Williams acknowledged that, “in their [August 3rd] motion, Plaintiffs sought a

nationwide injunction,” but did not adjudicate that issue in light of the transfer order. As a result,

Plaintiffs’ August 3, 2022 request for a nationwide PI is still pending. No argument has yet been

scheduled on that part of Plaintiffs’ request for relief, despite the ruling by Judge Williams that


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  Judge Williams did not have to directly address the irreparable harm facing the thousands of putative class
members because he limited his ruling to the Named Plaintiffs. However, in their initial brief in support of a
nationwide PI, Plaintiffs already fully discussed the extensive case law in the Second Circuit finding that the
termination of health coverage, particularly for low income individuals on Medicaid, was inherently irreparable
harm as a matter of law. Pls.’ Mem in Supp. of a TRO and a PI at 21-24, (ECF #3-1). Among the Second Circuit
cases cited therein was LaForest, also cited by Judge Williams in his Ruling, in which the Second Circuit found that
even the fear of lack of access to medical treatment due to the denial of coverage was irreparable harm, 376 F.3d 48,
55 (2d Cir. 2004), and Strouchler v. Shah, 891 F. Supp. 2d 504, 522 and notes 105 & 106 (S.D.N.Y. 2012), which
cited LaForest. Indeed, as also cited in Plaintiffs’ opening brief, the Second Circuit has noted that “[a] lack of
medical services is exactly the sort of irreparable harm that preliminary injunctions are designed to address.”
Fishman v. Paolucci, 628 Fed. Appx. 797, 801 (2d Cir. 2015) (Summary Order referring to Medicaid enrollees cut
off of benefits).


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irreparable harm is being suffered by the Named Plaintiffs, whose facts Plaintiffs have

previously briefed are indistinguishable from the kinds of harm being visited upon hundreds of

thousands of individuals around the country who also have been affected by the unlawful IFR.

        Plaintiffs now ask that the Court address this by: (1) expediting briefing on this motion,

(2) consolidating the remaining portion of their PI motion with the pending class motion, and (3)

either (a) adding argument on Plaintiffs’ pending motion for a nationwide PI to the hearing

scheduled in this matter for December 5th or (b) referring the remaining aspects of Plaintiffs’

August 3rd motion, along with the class motion, to Judge Williams for expeditious hearing and

resolution. While Plaintiffs will be greatly appreciative of an expeditious ruling by either of the

two federal judges involved in this case to date, Plaintiffs are cognizant of Judge Shea’s heavy

trial case load, as noted in his Honor’s September 29, 2022 transfer order (ECF# 59). In addition,

as a result of his full day hearing on, and adjudication of, the PI for the Named Plaintiffs, Judge

Williams has a significant level of familiarity with the details and merits of this case, allowing

for some efficiencies if the pending motions are adjudicated by his Honor. Accordingly, on

balance, in order to obtain as expeditious as possible a ruling on their pending motion for a PI on

behalf of the many thousands of affected people in the country, many with stories at least as dire

as those of the Named Plaintiffs, Plaintiffs believe it likely will serve both judicial economy and

the interests of justice to transfer both motions to Judge Williams, if his Honor would agree to

same.


Requested Relief

        Judge Williams has already found that the named Plaintiffs have standing, have suffered

irreparable injury and have shown a substantial likelihood of success on the merits of their claim

that the absence of notice and comment rendered the challenged portion of Defendant’s IFR


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unlawful. But, although fully briefed, there is no forum to resolve Plaintiffs’ still-pending motion

for a nationwide PI. Given Judge Williams’ ruling granting injunctive relief to the named

Plaintiffs, that pending motion is ripe for expedited consideration and consolidation with their

pending motion for class certification.

        The issues have already been fully briefed and the instant motion is purely procedural in

nature, with Plaintiffs seeking for all others the identical relief already granted to the Named

Plaintiffs in the Ruling, wherein “Defendant is ordered to refrain from enforcing the IFR with

respect to the named plaintiffs for the pendency of this action, and to reinstate its previous

guidance with respect to the named plaintiffs.” Ruling at 20. Plaintiffs therefore also request that

the Court grant expedited briefing on this motion, allowing Defendant seven (7) days from today

to file any opposition and Plaintiffs four (4) days thereafter to file any reply brief.

        In addition, Plaintiffs request that the Court take one of two alternative approaches to

assure that all of the individuals throughout the country who are currently suffering the same

type of irreparable harm as the Named Plaintiffs can obtain expeditious relief in light of Judge

Williams’ finding of a substantial likelihood of success on Plaintiffs’ procedural APA claim: (1)

refer the remaining part of Plaintiffs’ PI motion seeking a nationwide PI, along with the class

certification motion, to Judge Williams for resolution, or (2) order that argument on the part of

Plaintiffs’ August 3rd motion that seeks a nationwide PI be heard on December 5, 2022, along

with Plaintiffs’ class certification motion.

        Defendant was advised through counsel of this impending motion and asked about

consent to it or to the expedited briefing schedule as proposed herein, and he responded that he

would not consent to either.


DATED: November 10, 2022                                Respectfully Submitted,


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                                      Certificate of Service

        I hereby certify that on November 10, 2022, a copy of the foregoing document was filed
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filing system or by overnight delivery to anyone unable to accept electronic filing as indicated on
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                                             s/Sheldon V. Toubman
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